Case: 1:20-cv-05124 Document #: 35-4 Filed: 11/16/20 Page 1 of 5 PageID #:799




                         Exhibit 4
                     Case: 1:20-cv-05124 Document #: 35-4 Filed: 11/16/20 Page 2 of 5 PageID #:800




Document title: Nobelle
Capture URL: https://shopnobelle.com/
Capture timestamp (UTC): Mon, 31 Aug 2020 16:00:33 GMT                                               Page 1 of 2
                     Case: 1:20-cv-05124 Document #: 35-4 Filed: 11/16/20 Page 3 of 5 PageID #:801




Document title: Nobelle
Capture URL: https://shopnobelle.com/
Capture timestamp (UTC): Mon, 31 Aug 2020 16:00:33 GMT                                               Page 2 of 2
                     Case: 1:20-cv-05124 Document #: 35-4 Filed: 11/16/20 Page 4 of 5 PageID #:802




Document title: Nobelle | Nobelle
Capture URL: https://shopnobelle.com/about-us
Capture timestamp (UTC): Mon, 31 Aug 2020 15:58:11 GMT                                               Page 1 of 1
                     Case:
                      C    1:20-cv-05124 Document #: 35-4 Filed: 11/16/20 Page 5 of 5 PageID #:803




Document title: Nobelle | Nobelle
Capture URL: https://shopnobelle.com/contact-us
Capture timestamp (UTC): Mon, 31 Aug 2020 15:55:12 GMT                                               Page 1 of 1
